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Cr. 19-121
Attendance Sheet

Counsel

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[1] EMMANUELSPACHECO-MARIN:

Francisco Rebollo/ Luis Rivera

 

[4] JESUS J. RIVERA-FIGUEROA;

Giovanni Canino

 

[5] JOSE L. GARCIA-LOPEZ;

Linda George

 

[9] SEGISMAR RODRIGUEZ-RIVERA:;

Raul Mariani

 

[10] LUIS SERRANO-NIEVES;

Jose Aguayo

 

[11] CHRISTIAN ©. DALMAU-GARCIA;

Rafael Castro

 

 

[12] FABIAN VILORA-SEPULVEDA;

Jose Novas

AAMAN—

 

[13] ANTHONY VAZQUEZ-ARROYO;

Diego Alcala

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[14] LUIS R. ESPINAL-RIVERA;

WS.

Francisco Adams

 

PCAs) Hy [test Wey wenn!

 

 

[15] IGNACIO GUAL-CALDERON; Peter Diaz
[1 6) JONATHAN RIVERA-CARRASQUILLO;| Rachel Brill —
[20] JASON ARROYO-PEREZ; Miquel Rodriguez 4

 

[22] NEFTY L. OQUENDO-ROSARIO;

Ignacio Fernandez

 

[23] PEDRO COLLAZO-PRIETO;

Richard Dansoh

 

[24] JOSE O. BAEZ-ROSA;

tie

Juan Alvarez

 

[25] EDGAR NIEVES-TORRES;

Melanie Carrillo

 

[26] JONATHAN ARCE-CARRILLO;

Rafael Castro

 

[28] DIONICIO DE LA ROSA-RICHIEZ;

Lydia Lizarripar

 

[29] ANTHONY GONZALEZ-MIRANDA;

Robert Millan

 

 

[30] CARLOS R. NIEVES;

L. Guzman/R. Cerezo

 

[31] JOHN BLAYMEYER-QUINONES:;

Leonardo Aldridge

 

[385] CHRISTIAN SIERRA-PEREZ;

Johnny Rivera

 

[86] VICTOR RIVERA-GALINDEZ;

Eduardo Ferrer

 

 

 

 

 

 

 

 

[39] EDIBERTO GARCIA-LOPEZ; Irma Valldejuli \

[41] LUIS A. PIRIS-TORRES; Hector Dauhdijre ML)
[42] LUIS GARCIA-MORLAS; Laura Maldonado :
[43] MARIO DE JESUS-OCASIO; Mario Carrillo Ln

[44] PEDRO J. CINTRON-ALVAREZ; Jorge Rivera-Ortiz Cerf %. |

 
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[45] JOSE A. COLON-OTERO;

Miriam Ramos

LSA

 

 

 

 

 

[47] FERNANDO HILARIO-FIGUEROA; Saul Roman pLLe—
[48] RAFAEL MALDONADO-SEGARRA; _|_ Luis Guzman Laz OC 3

[51] GILBERTO GUISE-CALDERON: Marie Cortes AG

[52] CHRISTIAN LOPEZ-DIAZ Jose Perez

[53] EDWIN ROSA-COLON; Mariangela Tirado i htc A

 

[55] CARLOS M. PANTOJAS-RUANO;

Javier Morales

 

[56] LESLIE DOMINGUEZ-MIRANDA;
[57] CHRISTIAN J. HUERTAS-MENDEZ;
[58] CHRISTOPHER J. ESPINAL-RIVERA;

Wilfredo Rios
Jorge Gerena

Raymond Rivera

 

 

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[60] JOEL C, NIEVES-TORRES;

Jason Gonzalez

 

[61] JONATHAN MELENDEZ-OTERO;

Rafael Anglada

 

 

[63] JORGE D. ALICEA-CINTRON;

Julio Alejandro

 

[64] JOSE SANTIAGO-MONTANEZ;

Carlos Sanchez

 

[65] JOSE J. PIRIS-HERNANDEZ;

Thomas Lincoln

 

[66] JUAN M. PEREZ-MENDEZ;

David Ramos

 

[67] LUIS A. ROSA-DIAZ;

Guillermo Macari

 

[68] MICHAEL G. MARRERO-CASTRO;

Rosa Bonini

JZ f/OoY

 

[69] NELSON A. LOPEZ-QUINONES;

Yassmin Gonzalez

 

 

 

[70] KELVINSON CASTILLO-CASTILLO;

Artemio Rivera

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[71] PEDRO J. MASSAS-RIVERA;

Jose Arce

re Sptsni nal

 

[72] REYNALDO M. DIAZ-VERGES;

Benito Rodriquez

  

 

[73] NELSON CUEVAS-OCASIO;

lan Garcia

 

[74] CARLOS RODRIGUEZ-MELENDEZ;

Ernesto Hernandez

 

 

[75] ISADORA NIEVES-CRUZ.

Allan Rivera

 

 
